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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
LISA CORSON,                                  Case No. ____________________
                         Plaintiff,           COMPLAINT FOR:
v.                                            (1) COPYRIGHT INFRINGEMENT
VIVE EXTERIOR DESIGN, LLC;
and DOES 1 through 10 inclusive,
                         Defendants.




 Plaintiff, Lisa Corson alleges as follows:
                            JURISDICTION AND VENUE
          1.   This is a civil action seeking damages and injunction relief for
copyright infringement under the Copyright Act of the United States, 17 U.S.C. § 101
et seq.
          2.   This Court has subject matter jurisdiction under the United States
Copyright Act, 17 U.S.C. §§ 101 et seq., 28 U.S.C. § 1331 (federal question) and 28
U.S.C. §§ 1338(a) (copyright).
          3.   This Court has personal jurisdiction over Defendant because Defendant
conduct business within the state of Indiana, Defendant’s acts of infringement
complained of herein occurred and were expressly aimed at the state of Indiana, and
Defendant caused injury to Plaintiff within the State of Indiana.
          4.   Venue in this judicial district is proper under 28 U.S.C. § 1391(b) in
that this is the judicial district in which a substantial part of the acts and omissions
giving rise to the claims occurred.
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                                       PARTIES
        5.    Plaintiff Lisa Corson is an individual and professional photographer.
        6.    Defendant Vive Exterior Design, LLC, is an Indian limited liability
company with a place of business at 11071 E 126th Street, Fishers, IN, 46038.
        7.    Plaintiff is unaware of the true names and capacities of the Defendants
sued herein as DOES 1 through 10, inclusive, and for that reason, sues such
Defendants under such fictitious names. Plaintiff is informed and believes and on that
basis alleges that such fictitiously named Defendants are responsible in some manner
for the occurrences herein alleged, and that Plaintiff’s damages as herein alleged were
proximately caused by the conduct of said Defendants. Plaintiff will seek to amend the
complaint when the names and capacities of such fictitiously named Defendants are
ascertained. As alleged herein, “Defendant” shall mean all named Defendants and all
fictitiously named Defendants.
                           FACTUAL ALLEGATIONS
        8.    Plaintiff Lisa Corson (“Corson”) is a successful and acclaimed
photographer that previously worked as the photo editor for SPIN, New York
Magazine, and the Wall Street Journal.
        9.    Corson’s client list includes AARP, Country Living, Delta Airlines,
Google, House & Garden, The National Geographic Channel, The New York Times,
and The Washington Post.
        10.   Corson is the sole creator and exclusive rights holder a photograph of a
bocce ball court (the “Photograph”).
        11.   A true and correct copy of the Photograph is attached as Exhibit A.
        12.   Corson has registered her Photograph with the United States Copyright
Office under registration Vau 1-259-709 with an effective date of registration of
September 18, 2016.
        13.   Defendant Vive Exterior Design, LLC (“Vive”) is a landscape design
company.
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           14.   Vive owns and operates the business website www.viveexterior.com
(the “Website”) through which it advertises its services and solicits business.
           15.   On information and belief, Vive has the ability to supervise and control
all content that is uploaded to the Website.
           16.   Onits Website, Vive maintains a portfolio of imagery which it uses to
advertise its services to the public.
           17.   Without permission or consent, Defendant Vive uploaded and displayed
Corson’s Photograph on its Website on its portfolio page.
           18.   Attached hereto as Exhibit B are screenshots showing Vive’s use of
Corson’s Photograph on its website.
           19.   Corson hired an intellectual property management company called
Image Rights to attempt to recover a license fee for the unauthorized use of her
Photograph, however Vive refused to engage in good faith discussions after numerous
attempts.
           20.   Subsequently, Corson retained Higbee & Associates to contact Vive.
           21.   Vive never responded to Higbee & Associates’ numerous attempts at
contact.
           22.   Corson never authorized Vive to use her Photograph in any manner
including displaying it on the Website.
                             FIRST CAUSE OF ACTION
                            COPYRIGHT INFRINGEMENT
                                17 U.S.C. § 101 et seq
           23.   Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
           24.   Plaintiff did not consent to, authorize, permit, or allow in any manner
the said use of Plaintiff’s unique and original Photograph by Defendant.
           25.   Plaintiff is informed and believes and thereon alleges that the Defendant
willfully infringed upon Plaintiff’s copyrighted Photograph in violation of Title 17 of
the U.S. Code, in that Defendant used, published, communicated, posted, publicized,
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and otherwise held out to the public for commercial benefit, the original and unique
Photograph of the Plaintiff without Plaintiff’s consent or authority, by knowingly
copying the Photograph and displaying it on the Website.
        26.     As a result of Defendant’s violations of Title 17 of the U.S. Code,
Plaintiff is entitled to any actual damages pursuant to 17 U.S.C. §504(b), or statutory
damages in an amount up to $150,000 pursuant to 17 U.S.C. § 504(c).
        27.     As a result of the Defendant’s violations of Title 17 of the U.S. Code,
the court in its discretion may allow the recovery of full costs as well as reasonable
attorney’s fees and costs pursuant to 17 U.S.C § 505 from Defendant.
        28.     Plaintiff is also entitled to injunctive relief to prevent or restrain
infringement of her copyright pursuant to 17 U.S.C. § 502.
                                 PRAYER FOR RELIEF
 WHEREFORE, Corson requests judgment against Defendant as follows:
        1.      Actual damages and disgorgement of all profits derived by Defendant from
 its acts of copyright infringement pursuant to 17 U.S.C. §§ 504 (a)(1), or in the
 alternative and at Corson’s election, statutory damages for copyright infringement,
 including willful infringement, in accordance with 17 U.S.C. §§ 504(a)(2) and (c);
        2.      A permanent injunction pursuant to 17 U.S.C. § 502(a);
        3.      Reasonable attorneys’ fees incurred herein pursuant to 17 U.S.C. § 505 or
 otherwise available by law;
        4.      Costs and interest pursuant to 17 U.S.C. §§ 504 (a)(1) and (b), 17 U.S.C. §
 505, or otherwise available by law;
        5.      Prejudgment interest to Corson on all amounts owed; and
        6.      Any such other and further relief as the Court may deem just and
 appropriate.
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Dated: January 17, 2022January 17, 22                  Respectfully submitted,
                                            /s/ Mathew K. Higbee
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